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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                October 25, 2016
                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk

                                   LAREDO DIVISION

ALESSANDRO F. CERVANTES,          §
                                  §
     Plaintiff                    §
VS.                               §                    CIVIL ACTION NO. 5:16-CV-129
                                  §
OCWEN LOAN SERVICING LLC, et al., §
                                  §
     Defendants.                  §
                                  §

                                              ORDER

          Plaintiff, proceeding pro se, filed a Motion to Show Authority, requesting that

the Court instruct Defense Counsel to prove their authority to act on behalf of the

Defendants and to otherwise remand the case (Dkt. No. 6). In turn, Defendants

Ocwen Loan Servicing, LLC, and U.S. Bank National Association assert that the

Court has jurisdiction over the action (Dkt. No. 1) and move to dismiss with

prejudice (Dkt. No. 7).          For the following reasons, Plaintiff’s Motion to Show

Authority and to Remand (Dkt No. 6) is DENIED, Defendants’ Motion to Dismiss

(Dkt. No. 7) is GRANTED, and this case is DISMISSED WITH PREJUDICE.

I. BACKGROUND
      On October 6, 2014, Plaintiff filed suit against Defendants1 in state court

alleging a myriad of claims in an attempt to avoid foreclosure.2             Defendants

removed the case to the United States District Court for the Southern District of

Texas, and on May 11, 2015, Judge Diana Saldaña denied Plaintiff’s motion to



1   Youngblood was not a part of the 2014 Complaint.
2   Civil Case No. 5:14-CV-180, Dkt. No. 1-5.
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remand and granted Defendants’ motion to dismiss.3                            The Fifth Circuit

subsequently affirmed Judge Saldaña’s ruling.4

         Shortly after the Fifth Circuit’s affirmance, Plaintiff filed the instant suit

against Defendants in state court, once again attempting to avoid foreclosure. (Dkt.

No. 1-5). Defendants removed the action (Dkt. No. 1), and now pending before the

Court are Plaintiff’s Motion to Show Authority and Remand (Dkt. No. 6) and

Defendants’ Motion to Dismiss (Dkt. No. 7).

II. PLAINTIFF’S MOTION TO SHOW AUTHORITY
      Plaintiff, relying on Texas Rule of Civil Procedure 12,5 requests that the

Court instruct Defense Counsel to submit proof of their authority to act on behalf of

each Defendant. This request is meritless and therefore DENIED.

         First, it is questionable whether Plaintiff may rely on Texas Rule of Civil

Procedure 12 to challenge Defense Counsel’s authority. Wirsche v. Bank of Am.,

N.A., No. 7:13-CV-528, 2013 WL 6564657, at *2 (S.D. Tex. Dec. 13, 2013) (finding

that plaintiff’s attempt to force defense counsel to prove authority under Texas Rule

of Civil Procedure 12 was inapposite as district courts follow the Federal Rules of

Civil Procedure). Second, attorneys are presumed to have authority to act on behalf

of the party they claim to represent, and the Court does not find any reason to

question that presumption here. Indeed, the Court notes that Plaintiff’s allegation

is conclusory and appears to be frivolous as Plaintiff does not provide any valid

reason for challenging the Defense Counsel’s authority.

3 Civil Case No. 5:14-CV-180, Dkt. Nos. 11–12.
4 Civil Case No. 5:14-CV-180, Dkt. Nos. 20–21.
5 Texas Rule of Civil Procedure 12 provides that when an attorney’s authority to act is challenged,

“the burden of proof shall be upon the challenged attorney to show sufficient authority.”
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III. PLAINTIFF’S MOTION TO REMAND
       A state-court action may be removed to federal court when subject matter

jurisdiction exists and the removal is procedurally proper. 28 U.S.C. § 1441. With

limited exceptions, “[a] federal district court has removal jurisdiction over an action

if the district court could have exercised original jurisdiction over it.”      Elam v.

Kansas City S. Ry. Co., 635 F.3d 796, 803 (5th Cir. 2011) (citing 28 U.S.C. §

1441(a)). Federal courts have original jurisdiction in cases where the amount in

controversy exceeds $75,000 and that are between, inter alia, “citizens of different

States.” 28 U.S.C. § 1332(a)(1).

         Plaintiff’s Motion to Remand does not challenge the amount-in-controversy or

diversity-of-citizenship requirements. Instead, as Defendants correctly point out,

“[t]he only ground on which Plaintiff claims remand is appropriate is that

Defendants’ counsel lacked authority to appear for Defendants and remove the

case.” (Dkt. No. 8 at 3). Although the Court has already disposed of Plaintiff’s lack-

of-authority argument, the removing party bears the burden of establishing subject

matter jurisdiction over the controversy. Winters v. Diamond Shamrock Chem. Co.,

149 F.3d 387, 397 (5th Cir. 1998).          Hence, the Court must now consider if

Defendants meet their burden.

         Because Plaintiff’s state-court Complaint claims that the issues in this case

involve a loan of $111,600, which was secured by a deed of trust (Dkt. No. 1-5 at 5),

the amount in controversy exceeds $75,000.

         Turning to the diversity-of-citizenship requirement, Plaintiff, a Texas citizen,

asserts claims against five Defendants: Ocwen Loan Servicing, L.L.C. (Owen);

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Barclays Capital Real Estate Inc. (Barclays); New Century Financial Corporation

(New Century); U.S. Bank National Association; and Eldon L. Youngblood

(Youngblood). (Id. at 3). Although Plaintiff’s Complaint cited the same Florida

address for all Defendants,6 it stated that Ocwen is a Delaware corporation,

Barclays is a California corporation, New Century is a California corporation, and

U.S. Bank National Association is a D.C. corporation. For Youngblood, however,

Plaintiff did not assert a particular citizenship. (Id.).

          In their Notice of Removal, Defendants clarify that Ocwen is a U.S. Virgin

Islands citizen; that U.S. Bank National Association is a Ohio citizen; that Barclays

is no longer in business but was a New Jersey and California citizen; that New

Century is no longer in business but was a Maryland citizen; and finally, that

Youngblood is a Texas citizen but was improperly joined. (Dkt. No. 1 at 4–5). Since

the improper-joinder doctrine “constitutes a narrow exception to the rule of

complete diversity,” McDonal v. Abbott Laboratories, 408 F.3d 177, 183 (5th Cir.

2005), the question here hinges on whether Youngblood was improperly joined.

      A. Improper Joinder Standard
         When a “plaintiff improperly joins a non-diverse defendant, then the court

may disregard the citizenship of that defendant, dismiss the non-diverse defendant

from the case, and exercise subject matter jurisdiction over the remaining diverse

defendant.” Flagg v. Stryker Corp., 819 F.3d 132, 136 (5th Cir. 2016) (en banc).

          Improper joinder can be established two ways: “(1) actual fraud in the

pleading of jurisdictional facts, or (2) the inability of the plaintiff to establish a


6   5720 Premier Park Dr., West Palm Beach, FL 33407. (Dkt. No. 1-5 at 3).
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cause of action against the non-diverse party in state court.” Smallwood v. Ill. Cent.

R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004) (en banc). To make the second showing,

a defendant must demonstrate that there is no possibility that the plaintiff will

recover against the non-diverse defendant under the relevant law. Id.

         Under this analysis, there are two ways to determine whether the plaintiff

could possibly recover against the non-diverse defendant: (1) conduct a “Rule

12(b)(6)-type analysis,” looking to the face of the complaint to assess whether it

states a claim against the non-diverse defendant; or (2) to “pierce the pleadings” and

conduct a summary-judgment-type analysis to identify discrete facts that would

preclude recovery against the non-diverse defendant. Id. at 573–74. The latter

method is applicable only if the plaintiff has stated a claim against the non-diverse

defendant, but summary-judgment evidence reveals facts withheld by the plaintiff

relevant to the propriety of joinder. Id.

         Finally, courts must apply the federal pleading standard in examining the

sufficiency of a plaintiff’s state-court petition for improper joinder.             Int’l Energy

Ventures Mgmt., L.L.C. v. United Energy Grp., Ltd., 818 F.3d 193, 208 (5th Cir.

2016).7 The pleading must contain “enough facts to state a claim to relief that is

plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

Labels and conclusions, a formulaic recitation of the elements of a cause of action, or

naked assertions devoid of further factual enhancement do not suffice. Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).

7See also Mastronardi v. Wells Fargo Bank, et al., No. 15-11028, 2016 WL 3549007, at *1 (5th Cir.
June 29, 2016) (per curiam) (noting the revised Texas standard under Texas Rule of Civil Procedure
91a now tracks the federal standard).
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   B. Improper Joinder Analysis
      Plaintiff makes the following allegations against Youngblood:

              37. Breach and conversion under contract against Trustee:
      Defendant Eldon L. Youngblood, “The Trustee”, owed a duty of care as
      trustee to Plaintiff under the Deed of Trust agreement dated May 10,
      2006. As a direct and proximate result of the Trustee’s failure to
      disclose the true nature of the trust relationship, and failing to inform
      Plaintiff that upon executing the said Deed of Trust agreement,
      Plaintiff could make a gift of his property to the trust. Due to this
      negligence Plaintiff has sustained consequent and proximate injuries
      for (a) breach of fiduciary duty; (b) conversion of property; (c) personal
      injury; (d) unjust enrichment; (e) financial loss according to proof; and
      (f) interference with a business relationship.
              38. Plaintiff further alleges that Trustee has violated the trust
      that Plaintiff should reasonably expect from that officer. Trustee
      knowingly withheld information from Plaintiff that was of a vital
      nature to Plaintiff’s wellbeing by failing to disclose that, under the
      terms of the Deed of Trust as an alleged contract, Plaintiff was being
      required to gift his property to the Mortgage Company who in turn sold
      and converted plaintiff’s contract into a different instrument and
      without any corresponding consideration in return. As such, Trustee
      knowingly participated in deceit; fraud, larceny, and racketeering in
      an unlawful scheme.
      ...
              59. Defendant [Youngblood] is the Trustee and Plaintiff alleges
      that he knowingly participated in deceit; fraud, larceny, and
      racketeering in an unlawful scheme affecting Plaintiff’s interests.
      Plaintiff alleges that Trustee has committed a breach of fiduciary duty
      and therefore he cannot legally enforce the Deed of Trust.
(Dkt. No. 1-5 at 12–13, 18).

         Defendants argue that Plaintiff merely alleged general fraudulent conduct on

Youngblood’s part but failed to raise any of the required elements of fraud or any

other claim. (Dkt. No. 1 at 5). Specifically, Defendants contend that Plaintiff did

not meet the heightened pleading standard applicable to fraud claims under

Federal Rule of Civil Procedure 9(b). (Id. at 6). Moreover, Defendants posit that

there is no reasonable possibility that Plaintiff could recover from Youngblood


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under Texas law. (Id.). To that end, Defendants first state that Youngblood could

assert an affirmative defense and seek dismissal for not being a necessary party to

the suit because he was named only in his capacity as trustee.         (Id.).   Second,

Defendants also argue that Texas law protects a trustee from liability for good-faith

reliance on information provided by the mortgagor or mortgagee. (Id.). The Court

agrees.

         Plaintiff’s Complaint essentially seeks to assert a fraud and breach-of-

fiduciary-duty claim against Youngblood, who is the substitute trustee with respect

to the foreclosure proceedings. As it relates to a fraud claim, the Court finds that

Plaintiff has not met the standard of Federal Rule of Civil Procedure 9(b). Turning

to the remaining claim, “[e]ven if plaintiffs successfully set forth allegations upon

which the court may reasonably predict that they might be able to recover against

the non-diverse defendants, defendants may show improper joinder by establishing

an affirmative defense.” Goradia Family Interests, Ltd. v. Sunoco, Inc., No. CV H-

16-0736, 2016 WL 4154462, at *4 (S.D. Tex. Aug. 4, 2016) (citing Sid Richardson

Carbon & Gasoline Co. v. Interenergy Resources Ltd., 99 F.3d 746, 753 (5th Cir.

1996)).    If the plaintiff has a reasonable possibility of surviving an affirmative

defense, however, there is no improper joinder, and the case must be remanded. Id.

         “Although a trustee under a deed of trust owes neither a fiduciary duty nor a

duty of good faith and fair dealing to the mortgagor, the trustee does have a duty to

act with absolute impartiality and fairness to the grantor in performing the powers

vested in him by the deed of trust.” Kew v. Bank of Am., N.A., No. CIV.A. H-11-


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2824, 2012 WL 1414978, at *6 (S.D. Tex. Apr. 23, 2012) (Rosenthal, J.) (quoting

Marsh v. Wells Fargo Bank, N.A., 760 F. Supp. 2d 701, 708 (N.D. Tex. 2011)).

“[B]reach of this duty may be stated under Texas law as a claim for wrongful

foreclosure, which requires that the property in question be sold at a foreclosure

sale.”    Id. (internal quotation marks omitted).      Therefore, because Plaintiff’s

property has not been sold, Plaintiff cannot assert a breach-of-fiduciary-duty claim

against Youngblood.

         Since Defendants have met their burden to establish jurisdiction, Plaintiff’s

Motion to Remand is DENIED.

IV. DEFENDANTS’ MOTION TO DISMISS
      Defendants raise two separate grounds for dismissal.            First, Defendants

argue that Plaintiff’s claims are barred by res judicata. Second, Defendants argue

that the action should be dismissed pursuant to Federal Rule of Civil Procedure

12(b)(6) because Plaintiff failed to show plausible entitlement to relief. Plaintiff

does not dispute each of those grounds, focusing instead on challenging Defense

Counsel’s authority. The Court need not look beyond the guiding principles of res

judicata and the record to find that this case should be dismissed.

   A. Legal Standard
      The Federal Rules require that a claim for relief contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” FED. R. CIV. P.

8(a)(2). To survive a motion to dismiss for failing to state a claim upon which relief

can be granted under Rule 12(b)(6), the complaint must state enough facts to be

“plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The


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factual allegations must be separated from the legal conclusions in a complaint and

then evaluated to determine whether they plausibly entitle the plaintiff to relief

under the particular legal claim asserted. See Ashcroft v. Iqbal, 556 U.S. 663, 678–

79 (2009). Labels and conclusions, a formulaic recitation of the elements of a cause

of action, or naked assertions devoid of further factual enhancement do not suffice.

Id. at 678.

         Res judicata or claim preclusion “bars the litigation of claims that have been

or should have been raised in an earlier suit.” Snow Ingredients, Inc. v. SnoWizard,

Inc., No. 15-30393, 2016 WL 4363181, at *3 (5th Cir. Aug. 15, 2016) (citing Petro–

Hunt L.L.C. v. United States, 365 F.3d 385, 395 (5th Cir. 2004)). Generally, courts

sitting in diversity cases apply the preclusion law of the forum state. 8 Am. Home

Assur. Co. v. Chevron, USA, Inc., 400 F.3d 265, 272 n.20 (5th Cir. 2005). In Texas, a

judgment precludes a later claim if a defendant proves: “(1) there was a prior final

judgment on the merits by a court of competent jurisdiction, (2) identity of the

parties or those in privity with them exists between the two actions, and (3) the

second action is based on the same claims as were raised or could have been raised

in the first action.” Stevens v. Bank of Am., N.A., 587 F. App’x 130, 132–33 (5th Cir.

2014) (citing Amstadt v. U.S. Brass Corp., 919 S.W.2d 644, 652 (Tex. 1996)).




8 Unless the state law is incompatible with federal interests, courts apply the preclusion law of the
forum state. Stevens v. Bank of Am., N.A., 587 F. App’x 130, 132 n.2 (5th Cir. 2014). Because the
parties did not raise the choice-of-law issue and the Court finds that the result of this case would be
the same under Texas or federal preclusion law, it need not decide if Texas law is incompatible with
federal interests. Id.
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    C. Analysis
       After reviewing the 2014 suit, which was dismissed by Judge Saldaña,9 the

Court finds that the present suit is barred by res judicata since Plaintiff is

essentially attempting to relitigate matters that have been adjudicated.

          First, the 2014 judgment was final, on the merits, and issued by a court of

competent jurisdiction. In that case, Judge Saldaña granted Defendants’ 12(b)(6)

motion and dismissed Plaintiff’s suit.            (Dkt. No. 7-4).      While the order did not

explicitly state it was dismissing with prejudice, dismissals under Rule 12(b)(6)

operate as an adjudication on the merits. Int’l Energy Ventures Mgmt., L.L.C. v.

United Energy Grp., Ltd., 818 F.3d 193, 210 (5th Cir. 2016). Plaintiff appealed and

the Fifth Circuit affirmed the ruling. (Dkt. No. 7-5).

          Second, the parties involved in this suit were also in the 2014 suit.10 “Privity

exists if the parties share an identity of interests in the basic legal right that is the

subject of litigation.” Amstadt, 919 S.W.2d at 653. The fact that Youngblood was

not a part of the first suit is immaterial because the Court has already determined

that he was improperly joined, and the remaining Defendants were indeed a part of

the first suit.

          Finally, “[r]es judicata also precludes a second action on claims that arise out

of the same subject matter and which might have been litigated in the first suit.”

Id. That is, a prior judgment “precludes a second action by the parties and their

privies not only on matters actually litigated, but also on causes of action or


9 The Court takes judicial notice of the record in Civil Case No. 5:14-CV-180; the 2014 suit dismissed
by Judge Saldaña.
10 Compare Civil Case No. 5:14-CV-180, Dkt. No. 1-5, with Dkt. No. 1-5.

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defenses which arise out of the same subject matter and which might have been

litigated in the first suit.” Getty Oil Co. v. Ins. Co. of N. Am., 845 S.W.2d 794, 798

(Tex. 1992) (quoting Barr v. Resolution Trust Corp., 837 S.W.2d 627, 630 (Tex.

1992)). In the prior suit, Judge Saldaña addressed Plaintiff’s claims to void the

mortgage, for slander of title, and fraud. (Dkt. No. 7-4). Plaintiff’s current suit re-

raises the fraud claims and asserts a claim to quiet title.       Although the prior

dismissal order did not examine the claim to quiet title, the Fifth Circuit’s order

addressing Plaintiff’s appeal did. In doing so, the Fifth Circuit specifically noted

that Plaintiff’s complaint failed to allege an element of a claim to quiet title.

Ultimately, it is clear that both suits are based on the same operative facts.

V. CONCLUSION
     Plaintiff’s Motion to Show Authority and to Remand (Dkt No. 6) is DENIED,

Defendants’ Motion to Dismiss (Dkt. No. 7) is GRANTED, and this case is

DISMISSED WITH PREJUDICE.

          It is so ORDERED.

          SIGNED October 25, 2016.



                                           ___________________________________
                                           Marina Garcia Marmolejo
                                           United States District Judge




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